           Case: 1:19-cv-04352 Document #: 10 Filed: 03/09/20 Page 1 of 9 PageID #:37


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                                                        1:19cv{4352
                                                        John Robert Blakev        cumminss
    (Entor abo.ve the full n4me                         ir'"'d=ti,; Judge i"'nt"v
    ofthe plaintiffor  Plaintiffs in                    PC9
    this action)

                                                 CaseNo: .:
                                                 (To be Epptied      by the Cler* of this. Cotut)




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     @nter abovothe     full namc ofALL
     dcfenilants in this action. Do,not
     lse i'et al.')
              t

     CHECK OI{E.O}[LY:

       /             CoMPLAINT.UNDER TIIE          CI-L   RIGHTS ACT' TruLE 42 SECTION 1983
                     U.S. Code (state, oounty, or municipal defendants)
                                                                              TITLE
                     COMPLAINT T]IITDER TIIE CONSIITUTTON ("BTVENS'' ACTIOTO'
                     28 SECTION 1331U.S. Code (federal defendants)

                     OTHER (che statute, if known)

                       OttT THIS Coil[!144M,           PLEASE REWRTO "INSTRACTIONS FOR
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                 FoLLow rrrnsr INsrRrlcrIoNS            cAEEFULLY'
      Case: 1:19-cv-04352 Document #: 10 Filed: 03/09/20 Page 2 of 9 PageID #:38




       Plaintilf(s):

       A.      Name:

       B.      List all aliases:

       C.      Prisoner iderrtification number:

       D,      Place of prese,lrt confinement:

       E.      Address:

       (fthe.re is rnore than one plaintifi then each plainiiffmust list his or her name, aliases, I.D.
       number,.plaoe of confinernent, and current addreqs aocording.to thd abovo format bn a
       separate sheet of paper.)

II.    Defeirdant(s):
       G;-ffi;l       pUce ttrg tull name oftho lirst defendant in the fust blanlq his or her official
       popition in til; r*ooO Ui*f., and his or her flace gf3ynloyment in the third blank. Space
       fortwo additional defendanh is pro-vidqd in B and C.)

       A.      Defendant:

               Title:

               .Place   ofEmployment:

       B.      Defendant:

               Title:

               Place of Employment:

       C.      Defendant:

               Title;

                Place of Employment:

        (If you have more than three defendants, then all additional       defendants must be listed
        according to the above format on a soparate sheet of papor.)




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I.       Plaintiff(s):

        A.        Name:      lrevou LEoN Swa't
        B.        List all aliases:
                                        "l-"
                                                     s   eph   tn"s
                                                            Ll 1              ?ot1 oXl Po 3 6
        C.        Prisoner identification number, /v\ o 4 1

        D.        Place ofpresentconfineme                     C qOA C oun)l
                                                      ^r'
        E.        Address:      Q,0.            Bo* o81oo3-
        (If                       plaintiff, then each plaintiff must list his or her nzune, aliases, I.D.
              there is more than one
        number, place of confinement, and current address according to the above format on a
        separate sheet of paper.)

II.     Defendant(s):
        (In A below, place the full name ofthe first defendant in the first blank, his or her offrcial
        position in the second blank, and his or her place of employment in the third blank. Space
        for two additional defendants is provided in B and C.)

        A.        Defendant:   l-ri        nn   rt   q 1[, D ,4 fT
                                       "
                  ritle: She.r; $
                  Place of
                                      ooY', C oqn ) f
                             Employment:             C
        B.        Defendant: 0FF ice-       ;l
                 Title:        oo     6     C.oa h+               1neri   :r 4d;
                 Place of Employment:
                                                                   un\
        C.                                                                                                     io nJ

                 Title:

                 Place of Employment:

        (If you have more than three defendants, then all additional defendants rnust be listed
       according to the above format on a separate sheet of paper.)




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m.     List ALL lawsults yoq (and your co-pleiutiffs, if any) have filed in any state
       court iu tho Ulited Strtes: '

       A.     Name of case and dooketnrmber:



       B.     Approximate date offiling lawzuit'      N oVervtLer      3Q,Lil3-
                                                         'i*mAiog
       c.                                had                        qny aliasos:   DePOn




       D,




       E.     Court in which the lawsuit                                the          ifstate oourt,
              name the cp.untY):
                                                                        s+

        Ii            judgc         w,hom,casaval assigry$
              {ump of
                              to.



        G.    Basic claim made.      ( r up 1 anA q n9u ql *re.ot nen{                 .




               Disposition of this case (fE,oxample: wqs thp casc dismissed? was it appoaled?
               Is ststill pending?l: (Jrr I    Itf€ ndr n-d


        r      Approximate date of     disposition:   S* il[ f d iry
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AI{D TAILIJRE TO DO SO l\{AY RESULT IN DISMISSAL OT YOUR CASE. CO;
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 .    conrt tn theUqlted     Sfrtu:    '   '


      A. ' Nameof c{ise and do*ct nmbsr:

      B.

      c.




      D.       Listhtl




      E.       Corirt in which the lawsuit was                                            ifsA&oorut,
               nalqe the cptraty):,

               Naure ofJudgo to whom case uras assigned:
      T,


      G.




      H,       Disposrlion ofthis case (f.or orample:       Pr, fte^*   diuqiSsedt W3s    it
               Is'iistili ponding?):   nJ'\ nafs SP


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      Case: 1:19-cv-04352 Document #: 10 Filed: 03/09/20 Page 6 of 9 PageID #:42



ry.      Statement of Claim:

         State here as        as possible the facts of your case. Describe how each defendant is
                         briefly
        involved, including names, dates, and places. Do not give any legal arguments or cite any
        cases or statutes. If you intend to allege a number of related claims, number and set forth
        each claim in a separate puagraph. (Use as much space as you need. Attach extra sheets
        if   necessary.)                 .




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       Relief:

      State briefly exactly what you want the court to do for    you. Make no legal arguments. Cite
      no cases or statutes.




VI.   The plaintiff demands that the case be tried by a    jury. d              trNo
                                                                       "r,
                                                       CERTIFICATION

                            By signing this Complaint, I certiff that the facts stated in this
                            Complaint are true to the best of my knowledge, information and
                            belief. I understand that if this certification is not correct, I may be
                            subject to sanctions by the Court.

                            Signed   ttris 6         day   of I A        ,20-fi__


                             d)erurror,- &rrr.ta,u
                           (Signature of plaintiff or plaintiffs)

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                           (I.D. Number)


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                           (Address)




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